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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 1:22-cv-22343-KMM


  JORGE MONTEAGUDO
  ALBURQUERQUE,

          Plaintiff,

  v.

  THE DE MOYA GROUP, INC.,

        Defendant.
  ___________________________________ /

             INTERIM ORDER ON DEFENDANT’S MOTION FOR SANCTIONS

          THIS CAUSE is before the Court following the May 9, 2023 evidentiary hearing on

  Defendant The De Moya Group, Inc.’s Motion for Sanctions under Rule 11 of the Federal Rules

  of Civil Procedure (the “Rule 11 Motion”). (ECF No. 58). The matter has been referred to the

  undersigned by the Honorable K. Michael Moore, United States District Court Judge, pursuant to

  28 U.S.C. § 636 and the Magistrate Judge Rules of the Local Rules of the Southern District of

  Florida, to take all necessary and proper action as required by law with respect to the Motion.

  (ECF No. 59). The matter was set for an evidentiary hearing, to resolve any factual disputes based

  on the assertion in Defendant’s Rule 11 Motion that Plaintiff lacked a good faith evidentiary basis

  to assert his claims in this case.

          On May 9, 2023, the undersigned convened the evidentiary hearing, where Defendant

  agreed that its Rule 11 Motion challenged the legal sufficiency of the allegations asserted in the

  Amended Complaint to establish the cause of actions here raised—that is, that Plaintiff and his

  counsel lacked a good faith basis to believe that the law in the Eleventh Circuit recognized a cause



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  of action for Plaintiff’s claims as asserted. Consistent with Almeida v. Bennet Auto Supply, Inc.,

  335 F.R.D. 463 (S.D. Fla. 2020), both Parties agreed at the hearing that the present Motion should

  not be decided before Defendant’s pending Motion for Final Summary Judgment (ECF No. 45) is

  decided, and that any recommendation on Defendant’s Rule 11 Motion should be entered at the

  end of the litigation.

          Notwithstanding, Defendant’s counsel presented testimony from Alisa De Moya regarding

  the scope of the investigation undertaken by Plaintiff and his counsel and regarding information

  adduced during the U.S. Equal Employment Opportunity Commission charge stage pre-suit. This

  evidence shall be considered later in connection with Defendant’s Rule 11 Motion, following

  disposition of Defendant’s summary judgment motion, without the need to recall Ms. De Moya as

  a witness.

          Accordingly, Defendant’s Rule 11 Motion (ECF No. 58) is HELD IN ABEYANCE

  pending disposition of Defendant’s pending summary judgment motion, at which point the Court

  may convene a telephonic status conference at the end of this case to evaluate the need for the

  further presentation of evidence at that time.

         DONE AND ORDERED in open court at Miami, Florida, on this 9th day of May, 2023.



                                                       ____________________________________
                                                       LAUREN F. LOUIS
                                                       UNITED STATES MAGISTRATE JUDGE


  cc:     Honorable K. Michael Moore
          Counsel of record




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